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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL BLACK,                             )
                                           )
                        Petitioner,        )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )

                             MEMORANDUM ORDER

     On June 9, 2007 this Court issued a memorandum order (the

“Order”) denying the then most recent effort by Michael Black

(“Black”) to attack the sentence that had been imposed on him and

that he is now serving--this time via a petition for a writ of

audita querela.     Now Black, continuing to act pro se, has

tendered two motions, one seeking leave to supplement his

petition for that writ and the other seeking reconsideration and

clarification of the Order.        Because consideration of the latter

motion essentially obviates any need to deal in substantive terms

with the former, which would not change the result in any event,

this Court turns to the proposal for reconsideration and

clarification.

     To begin with, Black mistakenly asserts that the Order

failed “to make specific findings of fact and conclusions of

law,” citing as authority for that contention Fed. R. Civ. P.

52(a).    But that requirement is simply inapplicable to a court’s

writing such as the Order--one that dispatches a pleading for its
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legal insufficiency.

     More substantively, Black purports to find in United States

v. Booker, 543 U.S. 220 (2005) a holding that if accepted would

invalidate all pre-Booker sentences, on the premise stated in

Black’s Motion for Reconsideration at 2-3:

     Therefore, the District Court had no statutory
     authority pursuant to 18 U.S.C. §3553(b)(1) to impose
     petitioner’s sentence or issue his judgment and
     commitment. The lack of statutory authority to make
     particular order or judgment is akin to lack of
     subject-matter jurisdiction, and is subject to
     collateral attack. See 46 Am. Jur. 2d §24 Note 3.

That is simply not the law.        Booker has not emptied out the

federal prisons by invalidating all sentences, no matter how old,

that were imposed under the then-universal understanding that the

Sentencing Guidelines were mandatory.

     That then calls for the denial of Black’s Motion for

Reconsideration and Clarification.          And because his Motion To

Amend Pleading would do nothing more than advance the same

contention that Black’s sentence was rendered void by Booker,

that motion is also denied.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   July 9, 2007




                                       2
